              Case 4:23-cv-05448-YGR Document 59 Filed 11/07/23 Page 1 of 2



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                                  UNITED STATES DISTRICT COURT
 9                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                       OAKLAND DIVISION
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      IN RE: SOCIAL MEDIA ADOLESCENT                             MDL No. 3047
12    ADDICTION/PERSONAL INJURY PRODUCTS
      LIABILITY LITIGATION                                       Case No. 4:22-md-03047-YGR
13
      THIS FILING RELATES TO:                                    Honorable Yvonne Gonzalez Rogers
14
      People of the State of California, et al. v. Meta          [PROPOSED] ORDER GRANTING
15    Platforms, Inc., et al., No. 4:23-cv-05448-YGR
                                                                 STIPULATED REQUEST TO ENLARGE
                                                                 TIME TO FILE PAPERS RELATED TO
16
                                                                 PLAINTIFFS’ ADMIN. MOTION TO
17                                                               DETERMINE WHETHER DEFENDANT
                                                                 META PLATFORMS, INC.’S
18                                                               MATERIALS SHOULD BE SEALED
19          The Parties’ Stipulated Request to Enlarge Time to File Papers Related To Plaintiffs’ Admin.

20   Motion to Determine Whether Defendant Meta Platforms, Inc.’s Materials Should Be Sealed is

21   GRANTED as follows:

22              1. The time to file any omnibus sealing stipulation and any omnibus motions on sealing

23                  disputes related to Plaintiffs’ Administrative Motion to Determine Whether Defendant

24                  Meta Platforms, Inc.’s Materials Should Be Sealed is extended to November 22, 2023;

25                  and

26              2. The time for filing any oppositions to omnibus motions on sealing disputes is extended

27                  to December 13, 2023.

28          PURSUANT TO STIPULATION, IT IS SO ORDERED.
                                            1
       [PROPOSED] ORDER GRANTING STIPULATED REQUEST TO ENLARGE TIME TO FILE PAPERS RELATED TO PLAINTIFFS’ ADMIN.
              MOTION TO DETERMINE WHETHER DEFENDANT META PLATFORMS, INC.’S MATERIALS SHOULD BE SEALED
                                                  4:22-md-03047-YGR
            Case 4:23-cv-05448-YGR Document 59 Filed 11/07/23 Page 2 of 2



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     DATED: November 7, 2023                              ________________________________
 2
                                                           Hon. Yvonne Gonzalez Rogers
 3                                                         United States District Judge

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      [PROPOSED] ORDER GRANTING STIPULATED REQUEST TO ENLARGE TIME TO FILE PAPERS RELATED TO PLAINTIFFS’ ADMIN.
             MOTION TO DETERMINE WHETHER DEFENDANT META PLATFORMS, INC.’S MATERIALS SHOULD BE SEALED
                                                 4:22-md-03047-YGR
